     Case 1:13-cv-00734-RBW Document 258 Filed 02/16/24 Page 1 of 1
USCA Case #23-5238    Document #2040721     Filed: 02/16/2024 Page 1 of 1


                 United States Court of Appeals
                            FOR THE DISTRICT OF COLUMBIA CIRCUIT
                                     ____________


No. 23-5238                                                September Term, 2023
                                                                     1:13-cv-00734-RBW
                                                  Filed On: February 16, 2024 [2040721]
True the Vote, Inc.,

              Appellee

       v.

Internal Revenue Service, et al.,

              Appellants

Public Interest Legal Foundation, Inc., et
al.,

              Appellees

                                     MANDATE

      In accordance with the order of February 16, 2024, and pursuant to Federal Rule
of Appellate Procedure 41, this constitutes the formal mandate of this court.


                                                         FOR THE COURT:
                                                         Mark J. Langer, Clerk

                                                 BY:     /s/
                                                         Emily K. Campbell
                                                         Deputy Clerk




Link to the order filed February 16, 2024.
